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EXHIBIT E
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y WEST BEND THE SILVER LINING®

A MUTUAL INSURANCE COMPANY«

June 14, 2012 LEGAL DEPARTMENT

ATTORNEYS AT LAW
CHRISTOPHER C. ZWYGART
WILLIAM J. EVANS

Mr. Richard Allender __ ROLLIN E. KRAFFT

Assistant Deputy Director ee THERES Me SIZER

P&C Consumer Assistance Unit AMY E, GOYETTE

Illinois Department of Insurance JOLT A. BENEDUM

320 West Washington Street own COUNSEL:

Springfield, IL 62767 VIA OVERNIGHT UPS —“james) pauty
Re: — Our Insured: Procaccio Painting & Drywall Co., Inc.

Complaint Number: IL11-11285
Our Customer No.: 0110109905

Dear Mr. Allender:

Thank you for your letter dated May 17, 2012, received in our office via facsimile on
June 1, 2012.

West Bend Mutual Insurance Company respectfully requests a hearing and appeal of the findings
outlined in your May 17 letter. It is our position that facts remain in dispute concerning the
contractual arrangement between West Bend and Procaccio. We would like an opportunity to
conduct appropriate discovery, including the opportunity to question the relevant witnesses under
oath in depositions, as their testimony will be relevant to the Commission’s evaluation of this
matter. Further, it is our contention that 215 ILCS 5/143.17a is not applicable to our facts.

To that end, we hereby request a hearing and appeal with the Illinois Worker’s Compensation
Board. In the event such hearing and appeal would not be properly heard by that body, we
hereby request a hearing and appeal with the Illinois Director of Insurance.

I extend my sincere thanks for your assistance in this matter.

Sincerely,

benereghur C ugar

Christopher C. Zwygart

Vice President — Legal & Corporate-C@ompliance
Direct Dial: 262/338-5103
czwygart@wbmi.com

C: Ms, Doris Procaccio, Procaccio Painting & Drywall Co.
(via email only — d.procaccio@procacciopainting.com)

Jordan Boyce, Synergetic Solutions, Inc.
(via email only - jboyce@synergeticsolutions.com

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